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1                                                                   The Honorable Thomas S. Zilly

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8                            UNITED STATES DISTRICT COURT
                            WESTERN DISTRICT OF WASHINGTON
9                                     AT SEATTLE
10
          STRIKE 3 HOLDINGS, LLC, a
11        Delaware corporation,                          No. 2:17-cv-01731-TSZ

12                              Plaintiff,               PLAINTIFF/COUNTER-
                                                         DEFENDANT’S REPLY TO
13                v.                                     DEFENDANT’S OMNIBUS
                                                         RESPONSE TO REMAINING
14        JOHN DOE, subscriber assigned IP               MOTIONS TO COMPEL
          address 73.225.38.130,
15                                                       Noted on Motion Calendar:
                                Defendant.               August 2, 2019
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     I.       INTRODUCTION
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              Defendant’s Omnibus Response to Plaintiff’s Remaining Motions to Compel
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     (“Defendant’s Response” or “Response”) boils down to two arguments. First, without any
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     support, Defendant blames Plaintiff for his own failure to comply with his discovery
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     obligations. Second, Defendant denies any connection to his Son’s hard drive, any
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     obligation to preserve it, and any obligation to produce it, all while asserting that both he
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     and his Son have a ‘joint defense’ entitling him to protection of their communications under
23
     the common interest privilege. Failing to meet any burden which would excuse his
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     discovery violations, or which would support application of the common interest privilege,
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     Defendant instead opts to obfuscate the issues by arguing against the imposition of
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1    sanctions. Interestingly, Defendant spends the majority of his Response explaining that he

2    has complied with his preservation duties and that he was not required to preserve his Son’s

3    Hard Drive, yet Plaintiff’s motions to compel seek the production of documents, not the

4    imposition of sanctions.

5           Noticeably, Defendant’s Response fails to present any argument that the documents

6    sought in the motions to compel fall outside the broad scope of discovery, nor does

7    Defendant address any of the factors listed in Fed. R. Civ. P. 26(b). Defendant also fails to

8    provide any document (either privilege logs, written agreements, or affidavits) which

9    supports application of the common interest privilege. For the foregoing reasons, as
10   explained more fully below, Plaintiff respectfully requests that its Motion to Compel the

11   Son’s Hard Drive be granted in its entirely, and that its Motion to Compel Production of

12   Documents, with respect to Request for Production No. 41, be granted.

13   II.    ARGUMENTS

14          A.      The Son’s Hard Drive is in Defendant’s Possession and Defendant has a

15                  Duty to Supplement His Discovery Responses

16          Defendant’s Response contains a header titled “Strike 3 cannot compel John Doe to

17   produce information he [does not] have.” Defendant’s Response, however, completely

18   ignores his Son’s testimony, the Federal Rules and case law. It is well-settled that “[a]

19   party responding to a document request cannot furnish only that information within his
20   immediate knowledge or possession; he is under an affirmative duty to seek that

21   information reasonably available to him from his employees, agents, or others subject to his

22   control.” Rogers v. Giurbino, 288 F.R.D. 469, 485 (S.D. Cal. 2012) (internal quotations

23   omitted); see also A. Farber & Partners, Inc. v. Garber, 234 F.R.D. 186, 189 (C.D. Cal.

24   2006); Putz v. Golden, No. C10-0741JLR, 2012 WL 13019220, at *4 (W.D. Wash. May 22,

25   2012). Additionally, a party who has responded to a request for production is required to

26   “supplement or correct its […] response: in a timely manner if the party learns that in some

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1    material respect the disclosure or response is incomplete or incorrect, and if the additional

2    or corrective information has not otherwise been made known to the other parties during the

3    discovery process or in writing[.]” Fed. R. Civ. P. 26(e). Defendant “must [also] do more

4    than merely assert that the search was conducted with due diligence; rather, [he] must

5    briefly describe the search to allow the Court to determine whether it was reasonable.”

6    Rogers v. Giurbino, 288 F.R.D. 469, 485 (S.D. Cal. 2012). Finally, “[i]f Defendant []

7    maintains that there is no relevant material in [his] control, [he] must state so under oath.”

8    Id.

9           Defendant has not supplemented any discovery. Defendant has not explained how
10   the Son’s Hard Drive is not in his possession. Defendant has not explained any method he

11   used to confirm that the device is not in his possession. Simply put, Defendant does not

12   address any steps he has taken to comply with his affirmative duty under the Federal Rules.

13   Instead, he argues that since Plaintiff failed to ask particular deposition questions,

14   Defendant has no obligation to search for, produce, or preserve the Son’s Hard Drive, and

15   therefore, Plaintiff’s motion to compel should be denied.

16          In this case, the Son testified that his Hard Drive still existed and was in

17   Defendant’s storage bin. Thus, as soon as he learned of his Son’s testimony, Defendant had

18   an affirmative duty to seek out the information responsive to Plaintiff’s prior request for

19   production and if found, he had a duty to supplement his previously produced index of Hard
20   Drives with the model and serial number of his Son’s Hard Drive. Plaintiff’s alleged failure

21   to ask the Son particular deposition questions about the hard drive’s physical description

22   does nothing to negate Defendant’s duty.

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1            Accordingly, Plaintiff respectfully requests entry of an order compelling Defendant

2    to produce his Son’s Hard Drive.1

3            B.       The Common Interest Privilege is not Applicable

4            Shockingly, while attempting to absolve himself of any discovery obligation

5    regarding, in connection to, or control over his Son’s Hard Drive, Defendant then argues

6    that the common interest privilege applies to his communications with his Son. Thus,

7    Defendant is quick to isolate himself from his Son when addressing the knowledge of,

8    preservation, and production of material evidence located in their shared residence, but then

9    claims that the two parties have a joint defense and thus their communications are protected
10   by the common interest privilege. Still, Defendant fails to meet his burden necessary to

11   establish application of the common interest privilege. “The common interest exception

12   applies when (1) the communication is made by separate parties in the course of a matter of

13   common interest; (2) the communication is designed to further that effort; and (3) the

14   privilege has not been waived.” Regents of Univ. of California v. Affymetrix, Inc., 326

15   F.R.D. 275, 279 (S.D. Cal. 2018) (internal quotations omitted). “The burden of establishing

16   that the ‘joint defense’ or ‘common interest’ doctrine applies is on the party asserting the

17   privilege.” In re Juniper Networks, Inc. Sec. Litig., No. C 06-4327 JW (PVT), 2009 WL

18   4644534, at *1 (N.D. Cal. Dec. 9, 2009). Defendant’s Response fails to set forth any set of

19   facts which meet that burden. Indeed, he has still not provided a privilege log sufficient to
20   establish that both he and his Son agreed to coordinate a joint defense. Notwithstanding the

21   foregoing, Plaintiff agrees to Defendant’s proposal that the Court conduct an in camera

22   review of the communications between Defendant and his Son’s attorneys to determine if

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       To clarify, Plaintiff proposes that the Son’s Hard Drive should be added to and subsequently examined under
26   the terms set out in Plaintiff’s Proposed ESI Protocol which was attached as Exhibit “A” to Plaintiff’s Motion
     to Compel Production of Defendant’s Hard Drives. See Dkt. No. 125-1, pp. 2-7.
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1    the common interest privilege applies or if any exception to the common interest privilege

2    applies.

3    III.    CONCLUSION

4            Plaintiff respectfully requests that its Motion to Compel the Son’s Hard Drive be

5    granted in its entirely, and that it’s Motion to Compel Production of Documents be resolved

6    with the Court’s in camera review of the communications between Defendant and his Son’s

7    attorneys to determine if the common interest privilege applies or if any exception to the

8    common interest privilege applies.

9    DATED this 2nd day of August, 2019
10                                                   LAW OFFICES OF
                                                     LINCOLN BANDLOW, PC
11                                                   By: /s/ Lincoln Bandlow
                                                     Lincoln D. Bandlow, Admitted Pro Hac
12                                                   Vice
                                                     1801 Century Park East
13
                                                     Suite 2400
14                                                   Los Angeles, CA 90067
                                                     Telephone: 310-556-9680
15                                                   Facsimile: 310-861-5550
                                                     Email: lincoln@bandlowlaw.com
16
                                                     THE ATKIN FIRM, LLC
17
                                                     By: /s/ John C. Atkin
18                                                   John C. Atkin, Admitted Pro Hac Vice
                                                     55 Madison Avenue, Suite 400
19                                                   Morristown, New Jersey 07960
                                                     Telephone: (973) 285-3239
20                                                   Email: jatkin@atkinfirm.com
21
                                                     ARETE LAW GROUP PLLC
22                                                   By: /s/ Jeremy E. Roller
                                                     Jeremy E. Roller, WSBA #32021
23                                                   1218 Third Avenue, Suite 2100
                                                     Seattle, Washington 98101
24                                                   Telephone: (206) 428-3250
25                                                   Facsimile: (206) 428-3251
                                                     Email: jroller@aretelaw.com
26
                                      Attorneys for Plaintiff
     PLAINTIFF/COUNTER-DEFENDANT’S REPLY
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1                                   CERTIFICATE OF SERVICE

2            I, Annabel Barnes, hereby certify that on August 2, 2019, I electronically filed the

3    foregoing document with the Clerk of the Court using the CM/ECF system which will send

4    notification of filing to the following parties:

5
                     Joshua L. Turnham, WSBA #49926
6                    E-mail: joshua@turnhamlaw.com
                     THE LAW OFFICE OF JOSHUA L. TURNHAM PLLC
7
                     1001 4th Avenue, Suite 3200
8                    Seattle, Washington 98154
                     Telephone: (206) 395-9267
9                    Facsimile: (206) 905-2996
10                   Attorneys for Non-Party Defendant’s Son
11
                     F. Christopher Austin, Admitted Pro Hac Vice
12                   Email: caustin@weidemiller.com
                     Allen Gregory Gibbs, Admitted Pro Hac Vice
13                   Email: ggibbs@weidemiller.com
                     WEIDE & MILLER, LTD.
14                   10655 Park Run Drive, Suite 100
15                   Las Vegas, Nevada 89144
                     Telephone: (702) 382-4804
16
                     Derek A. Newman, WSBA #26967
17                   Email: dn@newmanlaw.com
                     Rachel Horvitz, WSBA #52987
18                   Email: rachel@newmanlaw.com
19                   NEWMAN DU WORS LLP
                     2101 4th Avenue, Suite 1500
20                   Seattle, Washington 98121
                     Telephone: (206) 274-2800
21                   Facsimile: (206) 274-2801
22                   Attorneys for Third-Party Witnesses Tobias Fieser, IPP International UG,
23                   Bunting Digital Forensics, LLC, Stephen M. Bunting

24                   Adrienne D. McEntee, WSBA #34061
                     Beth E. Terrell, WSBA #26759
25                   Email: bterrell@terrellmarshall.com
                     amcentee@terrellmarshall.com
26
                     936 North 34th Street, Suite 300
     PLAINTIFF/COUNTER-DEFENDANT’S REPLY
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1                  Seattle, Washington 98103-8869
                   Telephone: (206) 816-6603
2                  Facsimile: (206) 319-5450
3
                   J. Curtis Edmondson, WSBA #43795
4                  Email: jcedmondson@edmolaw.com
                   EDMONDSON IP LAW
5                  399 NE John Olsen Avenue Hillsboro
                   Oregon 97124
6                  Telephone: (503) 336-3749
7
                   Attorneys for Defendant
8

9
     DATED this 2nd day of August 2019 at Seattle, Washington.
10

11                                             /s/ Annabel Barnes
12                                             Annabel Barnes, Legal Assistant

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